IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

UNITED STATES OF AMERICA,

Plaintiff, i Case No. 1:20-cr-00077(6)
Vs.
GENERATION NOW, INC., : JUDGE BLACK
Defendant.

CORPORATE DISCLOSURE STATEMENT

Pursuant to the Corporate Disclosure Statement provisions in Rule 12.4, Federal
Rules of Criminal Procedure: Any non-governmental corporate party to a proceeding must
file a Corporate Affiliations/Financial Interest statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of its stock.
The obligation to disclose any changes will be continuing throughout the pendency of this

case.

In Compliance with those provisions, this Corporate Disclosure Statement is filed on
behalf of:

Defendant GENERATION NOW
1. Is said party a parent, subsidiary or other affiliate of any other corporations?

__ YES _X NO
2. Is there a publicly owned corporation, not a party to the case that has a financial
interest of more than 10% in the defendant company?

YES _X NO

/s/ Robert F. Krapenc A - /- Z{
Robert F. Krapenc (0040645) Date

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document has been delivered via electronic
mail service to Counsel for all parties of record, this 7th day of February, 2021.

__/s/ Robert F. Krapenc
ROBERT F. KRAPENC (0040645)
Attorney for Defendant
